Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 1 of 46




               EXHIBIT A
                              Case 4:22-md-03047-YGR        Document 1203-1       Filed 10/10/24    Page 2 of 46


                                                        A                                                                B
                                                                                                            Limit to SD domains in
1                                        Plaintiffs' Last Search Term Proposal                              "FROM" metadata field
       "social media" w/30 ("health” OR “threat*” OR “safe*” OR “warning” OR “counselor” OR “discipline” OR
           “attack” OR “bully*” or “bullie*” OR “emergenc*” OR “conflict” OR “concern*” OR “content” OR
2                   “challenge” OR “legal” OR “outreach” OR “law” OR “incident” OR “investigat*”)
         "Facebook" w/30 ("health” OR “threat*” OR “safe*” OR “warning” OR “counselor” OR “discipline” OR
     “attack” OR “bully*” or “bullie” OR “emergenc*” OR “conflict” OR “incident” OR “commentary” OR “media”
3                                             OR “legal” OR “investigat*”)
          "mental health" w/15 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
      freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
4                            "eleventh grade*" OR "grade 11" OR "11th grade*" OR “crisis”)
         "YouTube" w/30 ("health" OR “threat*” OR “safe*” OR “warning” OR “counselor” OR “discipline” OR
      “attack” OR “bully*” or “bullie” OR “conflict” OR “incident” OR “commentary” OR “media” OR “legal” OR
5                                                     “investigat*”)
       (abus* w/10 (student* or kid* or child* or teen* OR tween* OR youth* OR young* OR juvenile* OR "pre-
         teen*" OR preteen* OR adolescent* OR minor* OR underage OR domestic OR family)) AND "health"
6
7                (distance W/5 learn*) AND ("mental health" OR "social health" OR "emotional health")
8                                                 harass* AND "health"
9               (social* W/3 distanc*) AND ("mental health" OR "social health" OR "emotional health")
10               (therap* w/5 school*) AND ("mental health" OR "social health" OR "emotional health")
11                                             lockdown* AND "health"
12                               (substance W/5 (disorder* OR abuse*)) AND "health"
          (drug* w/5 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
13           juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor* OR school*)) AND "health"
14                                          digital citizenship AND "health"
15                                        (sex* W/10 assault*) AND "health"
      (crim* W/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR
        sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh
16                     grade*" OR "grade 11" OR "11th grade*" OR "tenth grade*")) AND "health"




                                                                    Page 1
                              Case 4:22-md-03047-YGR         Document 1203-1       Filed 10/10/24    Page 3 of 46


                                                         A                                                          B
      (assault* w/10 (school* OR class* OR district* OR campus* OR rate* OR disciplin* OR student* OR pupil*
        OR scholar* OR kid* OR teen* OR child* OR freshman* OR freshmen OR sophomore* OR junior* OR
      senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th
17                    grade*" OR "tenth grade*" OR "10th grade*" OR "grade 10")) AND "health"
      (assault* w/10 ("ninth grade*" OR "9th grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade
       8" OR "seventh grade*" OR "7th grade*" OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6" OR
        principal* OR staff OR administrat* OR employee* OR teacher OR harass* OR viol* OR altercation* OR
          crim* OR safety OR expel* OR suspen* OR discip* OR treat* OR consult* OR train*)) AND "health"
18
          (weapon* w/5 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
         juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor* OR school* OR class*)) AND ("mental
19                                     health" OR "social health" OR "emotional health")
       ((scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR sophomore*
     OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade
            11" OR "11th grade*") w/10 "concentrat*") AND ("social media" OR Instagram OR IG OR TikTok OR
20                                         YouTube OR Snap* OR Facebook OR FB)
21                  (therap* w/5 child*) AND ("mental health" OR "social health" OR "emotional health")
22                                              (sex* W/10 viol*) AND "health"
        ((alcohol OR gin OR vodka OR tequila OR rum OR liquor* OR beer OR whiskey OR wine OR bourbon OR
      drunk) w/5 (student* OR pupil* OR scholar* OR school* OR premises OR campus* OR underage* OR youth*
23               OR child* OR teen* OR tween* OR "pre-teen*" OR minor* OR adolescent*)) AND "health"
24   ((screen w/3 time) OR screentime) AND "health"
       (pandemic* W/25 (impact OR negative OR harm*)) AND ("mental health" OR "social health" OR "emotional
25                                                          health")
      ((vape* OR vaped OR vaping) w/5 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth*
      OR child* OR juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor* OR teach* OR learn*)) AND
26                                                          "health"
              (Covid* w/10 quarantine) w/30 ("health*" OR “success” OR “growth” OR “iPad” OR “laptop” OR
27         “chromebook” OR “device” OR computer OR “polic*” OR “instruction” OR “guidance” OR “protocol”)
28                 (therap* w/5 district*) AND ("mental health" OR "social health" OR "emotional health")
29                (remote W/10 teaching) AND ("mental health" OR "social health" OR "emotional health")
30                   (therap* w/5 train*) AND ("mental health" OR "social health" OR "emotional health")

                                                                     Page 2
                              Case 4:22-md-03047-YGR         Document 1203-1       Filed 10/10/24   Page 4 of 46


                                                        A                                                          B
31                  (therap* w/5 class*) AND ("mental health" OR "social health" OR "emotional health")
32                (remote W/10 social*) AND ("mental health" OR "social health" OR "emotional health")
33               (remote W/10 learning) AND ("mental health" OR "social health" OR "emotional health")
34                                           (sex* W/10 abuse*) AND "health"
35   (remote W/10 school*) AND ("mental health" OR "social health" OR "emotional health")
36                                         (hybrid W/10 learning) AND "health"
37                 (remote W/10 class*) AND ("mental health" OR "social health" OR "emotional health")
        (bully* OR bullie*) w/5 ((severe OR severity OR intens* OR repeat* OR reptitive OR acute OR chronic OR
       serious OR extreme* OR major OR problem* OR concern* OR report* OR ignore* OR indifferen* OR fail*
       OR hotline OR helpline) w/10 (online OR internet OR "social media" OR Facebook OR FB OR Instagram OR
38                            IG OR Snap* OR TikTok OR TT OR Youtube OR YT OR text*))
       (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR sophomore*
      OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade
     11" OR "11th grade*") w/5 ("chromebook*" w/25 ("social media" OR Facebook OR FB OR Instagram OR "IG"
39                                   OR YouTube OR "You Tube" OR "YT" OR Snap))
     (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR sophomore*
     OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade
     11" OR "11th grade*") w/10 ("laptop*" w/25 "social media" OR Instagram OR IG OR TikTok OR YouTube OR
40   Snap* OR Facebook OR FB)
       (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR sophomore*
      OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade
     11" OR "11th grade*") w/10 ("device" w/25 ("social media" OR Instagram OR IG OR TikTok OR YouTube OR
41                                             Snap* OR Facebook OR FB))
     injur* w/10 (("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB)
     OR w/10 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile*
42   OR "pre-teen*" OR preteen* OR adolescent* OR minor*))
     suspen* w/5 ((student* OR pupil* OR scholar* OR kid* OR teen* OR child* OR freshman* OR freshmen OR
     sophomore* OR junior* OR senior* OR rate* OR impact* OR trend* OR decline* OR increase*) w/25 ("social
               media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB
43
      (incident* w/5 student*) AND ("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR
44                                               Facebook OR FB)

                                                                     Page 3
                              Case 4:22-md-03047-YGR         Document 1203-1      Filed 10/10/24    Page 5 of 46


                                                        A                                                          B

      addict* w/5 ("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB)
45
     hit* w/5 (("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB) w/10
      (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile* OR "pre-
46                                  teen*" OR preteen* OR adolescent* OR minor*))
       kick* w/10 (("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB)
      w/10 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile* OR
47                                "pre-teen*" OR preteen* OR adolescent* OR minor*))
     ((behavior* W/3 health) w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
       freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
       "eleventh grade*" OR "grade 11" OR "11th grade*")) AND ("social media" OR Instagram OR IG OR TikTok
48                                    OR YouTube OR Snap* OR Facebook OR FB)
       fight w/10 (("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB)
      w/10 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile* OR
49                                "pre-teen*" OR preteen* OR adolescent* OR minor*))
       medicat* w/10 (("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR
      FB) w/10 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile*
50                              OR "pre-teen*" OR preteen* OR adolescent* OR minor*))
     depress* w/10 ("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB)
        w/10 (scholar* OR kid* OR child* OR student* OR pupil* OR freshman OR freshmen OR sophomore* OR
        junior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "11th grade*" OR
      "tenth grade*" OR "10th grade*" OR "ninth grade*" OR "9th grade*" OR "eighth grade*" OR "8th grade*" OR
51                        "seventh grade*" OR "7th grade*" OR "sixth grade*" OR "6th grade*")
      ((student* w/5 focus*) w/25 (problem* OR difficult* OR challeng* OR declin* OR unable* OR inabilit* OR
     issue)) AND ("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR FB )
52
      (("Rx" OR prescri*) w/10 ("social media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR
   Facebook OR FB) w/10 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child*
53                    OR juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*))
    (danger w/10 (student* or pupil* or scholar* or kid* or child* or teen* OR tween* OR youth* OR "pre-teen*"
   OR preteen* OR adolescent* OR minor* OR underage)) AND ("social media" OR Instagram OR IG OR TikTok
54                                 OR YouTube OR Snap* OR Facebook OR FB)

                                                                     Page 4
                               Case 4:22-md-03047-YGR          Document 1203-1       Filed 10/10/24     Page 6 of 46


                                                          A                                                            B
55   sleep AND (track* OR study OR symptom* OR depriv*) AND (student* OR scholar*)
56   social w/3 health
57   disrupt* w/5 behavior*
58   emotional w/3 health
59   cyberbull*
     suicid* w/10 (student* OR pupil* OR scholar* OR kid* OR child* OR freshman OR freshmen OR sophomore*
     OR junior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "11th grade*" OR
     "tenth grade*" OR "10th grade*" OR "ninth grade*" OR "9th grade*" OR "eighth grade*" OR "8th grade*" OR
60   "seventh grade*" OR "7th grade*" OR "sixth grade*" OR "6th grade*")
61   disord* w/5 eat*
62   self harm
63   self-harm
64   challeng* w/10 security
65   use* w/10 ipad*
66   YT
     (predator* OR complaint* OR report* OR exploit* OR harass* OR abus*) w/3 (TikTok OR Facebook OR
67   Instagram OR Insta OR YouTube OR snap* OR "social media" OR Bytedance OR Meta)
68   screen w/10 (manag* OR control* OR limit)
     (emotional w/3 "well being") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR
     freshman OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR
69   "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th grade*")
70   challeng* w/5 online
71   challeng* w/10 threat*
72   use* w/10 ("electronic device*" OR "mobile device")
73   (social w/3 "well being") w/25 (scholar* OR student*)
     (can* w/3 sleep) OR (sleep w/10 (insufficient OR depriv* OR disturb* OR displace*)) OR (interrupt w/3 (sleep
74   OR school))
     (mental w/3 "well being") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
     OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
75   OR "eleventh grade*" OR "grade 11" OR "11th grade*")
76   gaggle*
77   campaign* w/10 security

                                                                       Page 5
                             Case 4:22-md-03047-YGR       Document 1203-1     Filed 10/10/24   Page 7 of 46


                                                     A                                                        B
78   remote W/25 (impact OR negative OR harm*)
79   sleep* w/3 class*
80   consequence* w/10 "phone*"
81   disciplin* w/10 "phone*"
82   gun* w/5 pupil*
83   intervention* w/10 "phone*"

    ("video game" OR "videogame" OR Fortnite OR Roblox OR "Mario Kart" OR Pokemon) w/10 (distract* OR
    sex* OR abuse* OR nude OR nudity OR disciplin* OR expel* OR threat* OR suspen* OR gun* OR weapon*
 84 OR shoot OR class* OR school* OR campus* OR district* OR learn* OR homework* OR study OR engage*)
 85 mental w/3 wellbeing
 86 absen* w/5 prevent*
    (property W/10 theft) AND (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR
 87 child* OR juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor* OR class*)
    challeng* w/5 (TikTok OR TT OR Instagram OR Insta OR IG OR Snapchat OR Facebook OR YouTube OR
 88 YT)
 89 consequence* w/10 "cell phone*"
 90 consequence* w/10 "cell-phone*"
 91 campaign* w/10 threat*
    (property W/10 vandali*) AND (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR
 92 child* OR juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor* OR class*)
 93 emotional w/3 wellbeing
 94 "Tik Tok"
 95 emotional* w/3 abuse*
 96 challeng* w/10 violen*
 97 anorexi*
 98 social w/3 wellbeing
 99 antidepress* OR "anti-depress*" OR "anti depress*"
100 disciplin* w/10 device*
101 sleep* w/10 disorder*
102 "tick tock"
103 psychologic* w/10 issue*


                                                                 Page 6
                                 Case 4:22-md-03047-YGR    Document 1203-1       Filed 10/10/24   Page 8 of 46


                                                       A                                                         B
104 challeng* w/5 internet
105 challeng* w/10 harm*
106 sleep* w/3 habit*
107 sleep* w/3 disrupt*
108 consequence* w/10 device*
109 sleep* w/3 disorder*
110 campaign* w/10 violen*
111 challeng* w/10 vandali*
112 intervention* w/10 device*
113 challeng* w/10 destruct*
    taunt* w/5 (school* OR class* OR district* OR campus* OR rate* OR disciplin* OR student* OR pupil* OR
    scholar* OR kid* OR teen* OR child* OR freshman* OR freshmen OR sophomore* OR junior* OR senior*
    OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th grade*"
114 OR "tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*")
115 challeng* w/10 property
116 absen* w/5 factor*
117 psychologic* w/10 concern*
    (usage* w/10 device*) w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
118 "eleventh grade*" OR "grade 11" OR "11th grade*")
119 incident* w/5 "social media"
120 incident* w/5 Facebook
121 Youtuber
    (behavior* W/3 "well being") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR
    freshman OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR
122 "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th grade*")
123 ANAD OR "National Association of Anorexia Nervosa and Associated Disorders"
124 Face book
125 challeng* w/10 bathroom*
126 disciplin* w/10 "cell phone*"
127 disciplin* w/10 "cell-phone*"
128 challeng* w/10 destroy*


                                                                   Page 7
                                Case 4:22-md-03047-YGR      Document 1203-1      Filed 10/10/24    Page 9 of 46


                                                       A                                                          B
129 campaign* w/10 destroy*
130 groupme*
131 campaign* w/10 propert*
132 campaign* w/10 "locker"
133 disciplin* w/10 "iphone*"
134 intervention* w/10 ipad*
135 screenagers
136 intervention* w/10 "iphone*"
137 anti-anxiety
138 incident* w/5 Snap*
139 challeng* w/10 dispenser*
140 challeng* w/10 toilet*
141 consequence* w/10 tablet*
142 dysmorp*
143 perform* w/5 (student* w/5 decline*)
144 viral w/5 challeng*
145 campaign* w/10 harm*
146 challeng* w/10 restroom*
    (behavior* W/3 wellbeing) w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
147 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
    violative w/5 ("9th grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh
    grade*" OR "7th grade*" OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6" OR principal* OR
    staff OR administrat* OR employee* OR teacher OR harass* OR viol* OR altercation* OR crim* OR safety OR
148 expel* OR suspen* OR discip* OR treat* OR consult* OR train*)
149 challeng* w/5 "lick"
150 intervention* w/10 tablet*
151 challeng* w/10 "hall pass"
152 challeng* w/5 shooting
    (behavior* W/3 health) w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
153 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")


                                                                   Page 8
                               Case 4:22-md-03047-YGR      Document 1203-1       Filed 10/10/24    Page 10 of 46


                                                       A                                                           B
154 challeng* w/5 skull
155 disciplin* w/10 ipad*
156 consequence* w/10 "iphone*"
157 challeng* w/10 "locker"
158 campaign* w/10 destruct*
159 intervention* w/10 "cell phone*"
160 intervention* w/10 "cell-phone*"
161 campaign* w/10 toilet*
162 compulsiv* w/10 (weight OR exercis*)
163 prank* w/10 threat*
    achieve* w/5 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR
    sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh
164 grade*" OR "grade 11" OR "11th grade*") w/5 decline
165 campaign* w/10 bathroom*
166 prank* w/10 propert*


    (usage* w/10 ipad*) w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshmen OR
    sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh
    grade*" OR "11th grade*" OR "tenth grade*" OR "10th grade*" OR "ninth grade*" OR"9th grade*" OR"eighth
167 grade*" OR"8th grade*" OR "seventh grade*" OR "7th grade*" OR "sixth grade*" OR "6th grade*")
168 campaign* w/10 sink*
169 challeng* w/10 sink*
170 challeng* w/5 smack
171 disciplin* w/10 tablet*
172 campaign* w/10 vandali*
173 prank* w/10 destruct*
174 disciplin* w/10 "cellphone*"
175 selfharm*
    violative w/5 (school* OR class* OR district* OR campus* OR rate* OR disciplin* OR student* OR pupil* OR
    scholar* OR kid* OR teen* OR child* OR freshman* OR freshmen OR sophomore* OR junior* OR senior*
    OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th grade*"
176 OR "tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*")


                                                                    Page 9
                              Case 4:22-md-03047-YGR     Document 1203-1      Filed 10/10/24   Page 11 of 46


                                                     A                                                         B
177 consequence* w/10 ipad*
178 campaign* w/10 dispenser*
179 prank* w/10 harm*
180 prank* w/10 security
    achieve* w/5 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR freshmen OR
    sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh
181 grade*" OR "grade 11" OR "11th grade*") w/5 decline
182 challeng* w/10 "dryer"
183 prank* w/10 destroy*
184 prank* w/10 sink*
185 campaign* w/10 "dryer*"
186 challeng* w/5 "penny"
187 consequence* w/10 "cellphone*"
188 intervention* w/10 "i-phone*"
189 campaign* w/10 "boys room*"
190 killchallenge
191 intervention* w/10 "cellphone*"
192 disciplin* w/10 "i-phone*"
193 challeng* w/5 "blackout"
194 challeng* w/5 "feces"
195 consequence* w/10 "i-phone*"
196 campaign* w/10 "fight club*"
197 campaign* w/10 "girls room*"
198 campaign* w/10 "hall pass*"
199 challeng* w/10 "boys room*"
200 campaign* w/10 restroom*
201 challeng* w/10 "fight club*"
202 challeng* w/10 "girls room*"
203 prank* w/10 restroom*
204 prank* w/10 dispenser*
205 prank w/10 vandali*
206 prank* w/10 "boys room*"


                                                                 Page 10
                                Case 4:22-md-03047-YGR      Document 1203-1       Filed 10/10/24    Page 12 of 46


                                                        A                                                           B
207 prank* w/10 "dryer"
208 prank* w/10 "fight club*"
209 prank* w/10 "girls room*"
210 prank* w/10 "hall pass*"
211 prank* w/10 "locker"
212 prank* w/10 bathroom*
213 prank* w/10 toilet*
214 prank* w/10 violen*
    (mental w/3 "well being") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
215 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (behavior* W/3 wellbeing) w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
216 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (emotional w/3 "well being") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
217 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (behavior* W/3 "well being") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR
    "9th grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th
218 grade*" OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
219 therap* w/5 "tenth grade*"
220 (social w/3 worker) w/10 "tenth grade*"
221 closure w/10 (emergenc* w/25 school*)
222 closed w/10 (pandemic w/25 school*)
223 closure w/10 (emergenc* w/25 district*)
224 closing w/10 (pandemic w/25 school*)
225 closed w/10 (disaster w/25 school*)
226 closed w/10 (emergenc* w/25 school*)
227 closure w/10 (pandemic w/25 school*)
228 closure w/10 (impact w/25 school*)
229 closed w/10 (safety* w/25 school*)
230 closing w/10 (pandemic w/25 district*)


                                                                    Page 11
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 13 of 46


                                                    A                                                      B
231 closing w/10 (event* w/25 school*)
232 closed w/10 (impact w/25 school*)
233 closing w/10 (safety* w/25 school*)
234 closing w/10 (threat* w/25 school*)
235 closed w/10 (pandemic w/25 district*)
236 closing w/10 (impact w/25 school*)
237 closed w/10 (threat* w/25 school*)
238 closing w/10 (emergenc* w/25 school*)
239 closure w/10 (threat* w/25 school*)
240 closed w/10 (impact w/25 campus*)
241 closed w/10 (safety* w/25 class*)
242 closed w/10 (safety* w/25 district*)
243 closed w/10 (pandemic w/25 campus*)
244 closure w/10 (threat* w/25 district*)
245 closed w/10 (emergenc* w/25 campus*)
246 closed w/10 (incident* w/25 school*)
247 closed w/10 (pandemic w/25 class*)
248 closed w/10 (disaster w/25 district*)
249 closing w/10 (threat* w/25 district*)
250 closure w/10 (alert* w/25 school*)
251 closure w/10 (impact w/25 district*)
252 closing w/10 (emergenc* w/25 district*)
253 closing w/10 (event* w/25 district*)
254 closure w/10 (safety* w/25 school*)
255 closed w/10 (impact w/25 district*)
256 closed w/10 (warn* w/25 school*)
257 closure w/10 (pandemic w/25 district*)
258 closed w/10 (safety* w/25 campus*)
259 closing w/10 (emergenc* w/25 class*)
260 closed w/10 (shot* w/25 school*)
261 closing w/10 (safety* w/25 class*)
262 closure w/10 (shot* w/25 school*)


                                                              Page 12
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 14 of 46


                                                    A                                                      B
263 closure w/10 (shot* w/25 district*)
264 closed w/10 (event* w/25 campus*)
265 closing w/10 (alert* w/25 school*)
266 closing w/10 (impact w/25 district*)
267 closing w/10 (event* w/25 class*)
268 closing w/10 (safety* w/25 campus*)
269 closing w/10 (advisor* w/25 school*)
270 closing w/10 (incident* w/25 school*)
271 closed w/10 (police w/25 school*)
272 closure w/10 (alert* w/25 district*)
273 closed w/10 (impact w/25 class*)
274 closed w/10 (threat* w/25 district*)
275 closing w/10 (disaster w/25 school*)
276 closing w/10 (threat* w/25 class*)
277 closing w/10 (disaster w/25 class*)
278 closed w/10 (emergenc* w/25 district*)
279 closing w/10 (pandemic w/25 class*)
280 closing w/10 (threat* w/25 campus*)
281 closure w/10 (event* w/25 class*)
282 closed w/10 (warn* w/25 district*)
283 closed w/10 (advisor* w/25 school*)
284 closing w/10 (safety* w/25 district*)
285 closing w/10 (pandemic w/25 campus*)
286 closed w/10 (incident* w/25 district*)
287 closed w/10 (police w/25 district*)
288 closed w/10 (threat* w/25 campus*)
289 closed w/10 (alert* w/25 school*)
290 closure w/10 (incident* w/25 school*)
291 closure w/10 (safety* w/25 campus*)
292 closure w/10 (emergenc* w/25 class*)
293 closure w/10 (safety* w/25 district*)
294 closing w/10 (warn* w/25 school*)


                                                              Page 13
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 15 of 46


                                                    A                                                      B
295 closing w/10 (advisor* w/25 district*)
296 closing w/10 (police w/25 class*)
297 closure w/10 (event* w/25 campus*)
298 closed w/10 (alert* w/25 district*)
299 closure w/10 (pandemic w/25 campus*)
300 closed w/10 (shot* w/25 class*)
301 closing w/10 (disaster w/25 district*)
302 closed w/10 (police w/25 campus*)
303 closing w/10 (police w/25 school*)
304 closing w/10 (event* w/25 campus*)
305 closed w/10 (warn* w/25 campus*)
306 closed w/10 (police w/25 class*)
307 closed w/10 (disaster w/25 class*)
308 closing w/10 (shooter w/25 school*)
309 closing w/10 (emergenc* w/25 campus*)
310 closing w/10 (shooter w/25 campus*)
311 closing w/10 (incident* w/25 district*)
312 closed w/10 (shooter w/25 school*)
313 closed w/10 (emergenc* w/25 class*)
314 closing w/10 (shot* w/25 school*)
315 closed w/10 (alert* w/25 campus*)
316 closed w/10 (threat* w/25 class*)
317 closure w/10 (emergenc* w/25 campus*)
318 closure w/10 (threat* w/25 class*)
319 closed w/10 (incident* w/25 campus*)
320 closed w/10 (advisor* w/25 campus*)
321 closed w/10 (disaster w/25 campus*)
322 closed w/10 (shooter w/25 campus*)
323 closed w/10 (shot* w/25 campus*)
324 closed w/10 (incident* w/25 class*)
325 closed w/10 (alert* w/25 class*)
326 closed w/10 (warn* w/25 class*)


                                                              Page 14
                              Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 16 of 46


                                                   A                                                      B
327 closed w/10 (advisor* w/25 class*)
328 closed w/10 (shooter w/25 class*)
329 closed w/10 (advisor* w/25 district*)
330 closed w/10 (shooter w/25 district*)
331 closed w/10 (shot* w/25 district*)
332 closure w/10 (warn* w/25 school*)
333 closure w/10 (advisor* w/25 school*)
334 closure w/10 (police w/25 school*)
335 closure w/10 (disaster w/25school*)
336 closure w/10 (shooter w/25 school*)
337 closure w/10 (incident* w/25 campus*)
338 closure w/10 (alert* w/25 campus*)
339 closure w/10 (threat* w/25 campus*)
340 closure w/10 (warn* w/25 campus*)
341 closure w/10 (advisor* w/25 campus*)
342 closure w/10 (police w/25 campus*)
343 closure w/10 (impact w/25 campus*)
344 closure w/10 (disaster w/25 campus*)
345 closure w/10 (shooter w/25 campus*)
346 closure w/10 (shot* w/25 campus*)
347 closure w/10 (incident* w/25 class*)
348 closure w/10 (alert* w/25 class*)
349 closure w/10 (warn* w/25 class*)
350 closure w/10 (safety* w/25 class*)
351 closure w/10 (advisor* w/25 class*)
352 closure w/10 (police w/25 class*)
353 closure w/10 (impact w/25 class*)
354 closure w/10 (disaster w/25 class*)
355 closure w/10 (pandemic w/25 class*)
356 closure w/10 (shooter w/25 class*)
357 closure w/10 (shot* w/25 class*)
358 closure w/10 (incident* w/25 district*)


                                                             Page 15
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 17 of 46


                                                    A                                                      B
359 closure w/10 (warn* w/25 district*)
360 closure w/10 (advisor* w/25 district*)
361 closure w/10 (police w/25 district*)
362 closure w/10 (disaster w/25 district*)
363 closure w/10 (shooter w/25 district*)
364 closing w/10 (incident* w/25 campus*)
365 closing w/10 (alert* w/25 campus*)
366 closing w/10 (warn* w/25 campus*)
367 closing w/10 (advisor* w/25 campus*)
368 closing w/10 (police w/25 campus*)
369 closing w/10 (impact w/25 campus*)
370 closing w/10 (disaster w/25 campus*)
371 closing w/10 (shot* w/25 campus*)
372 closing w/10 (incident* w/25 class*)
373 closing w/10 (alert* w/25 class*)
374 closing w/10 (warn* w/25 class*)
375 closing w/10 (advisor* w/25 class*)
376 closing w/10 (impact w/25 class*)
377 closing w/10 (shooter w/25 class*)
378 closing w/10 (shot* w/25 class*)
379 closing w/10 (alert* w/25 district*)
380 closing w/10 (warn* w/25 district*)
381 closing w/10 (police w/25 district*)
382 closing w/10 (shooter w/25 district*)
383 closing w/10 (shot* w/25 district*)
384 ticktock
385 Instagram
386 "FB"
387 Snap
388 TikTok
389 Insta OR "IG"
390 Snapchat


                                                              Page 16
                               Case 4:22-md-03047-YGR         Document 1203-1       Filed 10/10/24    Page 18 of 46


                                                          A                                                           B
391 "Snap Chat"
      (inappropriate w/5 behav*) w/10 (staff OR administrat* OR teacher* OR counselor* OR instructor* OR coach*
392 OR principal*)
    (scholar* OR kid* OR child* OR freshman OR freshmen OR sophomore* OR junior* OR "twelfth grade*" OR
    "12th grade*" OR "grade 12" OR "eleventh grade*" OR "11th grade*" OR "tenth grade*" OR "10th grade*" OR
    "ninth grade*" OR "9th grade*" OR "eighth grade*" OR "8th grade*" OR "seventh grade*" OR "7th grade*" OR
393 "sixth grade*" OR "6th grade*") w/10 "attention"
    (("well-being" or wellbeing OR "well being" OR wellness) w/10 (increas* OR declin* OR fall* OR trend* OR
    improv*)) AND (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
394 juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*)
395 Meta AND NOT (metal OR metap* OR metab*) - limit to SD domains
396 (use* w/5 tablet*) AND student
    Corona* w/10 (sad* OR depress* OR anxi* OR stress* OR scar* OR afraid OR angry OR mad OR worr* OR
397 emergenc* OR lonel* OR alone)
398 gun* w/5 adolescent*

      ("video game" OR "videogame" OR Fortnite OR Roblox OR "Mario Kart" OR Pokemon) w/10 (harm* OR hurt
      OR impact OR inappropriate* OR improper* OR danger* OR challeng* OR prank* OR violate* OR police OR
      safe* OR unsafe* OR distract* OR disrupt* OR crim* OR illegal OR attack* OR altercation* OR addict*)
399
    (use* w/10 "cell phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
400 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
    (use* w/10 "cell-phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
401 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
402 bomb* w/5 threat*
403 absen* w/5 caus*
    (use* w/10 "iphone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
404 "eleventh grade*" OR "grade 11" OR "11th grade*")




                                                                      Page 17
                              Case 4:22-md-03047-YGR        Document 1203-1      Filed 10/10/24    Page 19 of 46


                                                        A                                                          B
    (use* w/10 "cellphone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
405 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
406 "district wide" W/5 (problem* OR issue* OR decline*)
407 devious W/10 lick*

      (usage* w/10 "phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshmen OR
      sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh
      grade*" OR "11th grade*" OR "tenth grade*" OR "10th grade*" OR "ninth grade*" OR"9th grade*" OR"eighth
      grade*" OR"8th grade*" OR "seventh grade*" OR "7th grade*" OR "sixth grade*" OR "6th grade*")
408
    (usage* w/10 "cell phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
409 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
    (usage* w/10 "cell-phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
410 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
    (usage* w/10 tablet*) w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
411 "eleventh grade*" OR "grade 11" OR "11th grade*")
    (use* w/10 "i-phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
412 "eleventh grade*" OR "grade 11" OR "11th grade*")
    (usage* w/10 "cellphone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman
    OR freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12"
413 OR "eleventh grade*" OR "grade 11" OR "11th grade*")
    (use* w/10 "i-phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
414 "eleventh grade*" OR "grade 11" OR "11th grade*")
    (use* w/10 "i-phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
415 "eleventh grade*" OR "grade 11" OR "11th grade*")



                                                                    Page 18
                             Case 4:22-md-03047-YGR        Document 1203-1      Filed 10/10/24    Page 20 of 46


                                                       A                                                          B
    (use* w/10 "cellphone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
416 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (use* w/10 "iphone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
417 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
418 (procur* W/10 (fund* OR grant* OR money)) W/10 ("mental health" or "social media")
    (absen* w/5 unexcuse) w/10 (study OR survey* OR report* OR analysis OR caus* OR trend* OR chronic OR
    acute OR problem OR repeat OR reptitive OR severe OR severity OR intens* OR serious OR extreme* OR
419 major OR concern* OR report* OR ignore* OR indifferen* OR fail*)
    (use* w/10 "i-phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
420 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (use* w/10 "i-phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
421 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (use* w/10 "i-phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
422 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (use* w/10 "cell-phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
423 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (use* w/10 "cell phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
424 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (usage* w/10 tablet*) w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
425 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (usage* w/10 device*) w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
426 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")



                                                                   Page 19
                              Case 4:22-md-03047-YGR         Document 1203-1       Filed 10/10/24   Page 21 of 46


                                                         A                                                          B
    (usage* w/10 "cell-phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
427 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (usage* w/10 "cellphone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
428 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (usage* w/10 "iphone") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshman OR
    freshmen OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
429 "eleventh grade*" OR "grade 11" OR "11th grade*")
    (usage* w/10 "iphone") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
430 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")

      (usage* w/10 "i-phone*") w/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR freshmen
      OR sophomore* OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh
      grade*" OR "11th grade*" OR "tenth grade*" OR "10th grade*" OR "ninth grade*" OR"9th grade*" OR"eighth
      grade*" OR"8th grade*" OR "seventh grade*" OR "7th grade*" OR "sixth grade*" OR "6th grade*")
431
    (usage* w/10 "cell phone*") w/10 ("tenth grade*" OR "10th grade*" OR "grade 10" OR "ninth grade*" OR "9th
    grade*" OR "grade 9" OR "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR "7th grade*"
432 OR "grade 7" OR "sixth grade*" OR "6th grade*" OR "grade 6")
    (shutdown OR "shut down") w/10 (school* OR class* OR campus* OR district* OR incident* OR alert* OR
433 threat* OR event* OR warning* OR safety* OR advisor* OR polic* OR impact)
434 Discord
435 Twitch

      opiate* w/10 (problem* OR increas* OR impact* OR affect* OR pattern* OR trend* OR disrupt* OR distract*)
436
    (cannabis OR smoke*) w/10 (pot OR blunt* OR joint* OR bowl* OR pipe) AND (problem* OR increas* OR
437 impact* OR affect* OR pattern* OR trend* OR disrupt* OR distract*)
    painkiller* w/10 (problem* OR increas* OR impact* OR affect* OR pattern* OR trend* OR disrupt* OR
438 distract*)
439 gun* w/15 tween*



                                                                     Page 20
                               Case 4:22-md-03047-YGR         Document 1203-1   Filed 10/10/24   Page 22 of 46


                                                          A                                                      B
    (absen* w/5 excuse) w/10 (study OR survey* OR report* OR analysis OR caus* OR trend* OR chronic OR
440 acute OR problem OR severe)
441 gun* w/15 "pre-teen"
442 gun* w/10 preteen*
443 "You Tube"
444 Covid* w/10 (social* W/3 distanc*)
445 Covid* w/10 stress*
446 Covid* w/10 anxi*
447 Covid* w/10 worr*
448 Covid* w/10 lockdown
449 Covid* w/10 alone
450 Covid* w/10 sad*
451 Covid* w/10 scar*
452 Covid* w/10 depress*
453 Covid* w/10 lonel*
454 Covid* w/10 "lock* down"
455 Covid* w/10 afraid
456 Covid* w/10 angry
457 Covid* w/10 mad
458 ((social w/3 worker) w/25 child*) w/25 affect*
459 ((social w/3 worker) w/25 child*) w/25 effect*
460 ((social w/3 worker) w/25 child*) w/25 impact*
461 ((social w/3 worker) w/25 child*) w/25 increas*
462 ((social w/3 worker) w/25 child*) w/25 insufficient
463 ((social w/3 worker) w/25 child*) w/25 need*
464 ((social w/3 worker) w/25 kid*) w/25 affect*
465 ((social w/3 worker) w/25 kid*) w/25 effect*
466 ((social w/3 worker) w/25 kid*) w/25 impact*
467 ((social w/3 worker) w/25 kid*) w/25 increas*
468 ((social w/3 worker) w/25 kid*) w/25 insufficient
469 ((social w/3 worker) w/25 kid*) w/25 need*
470 ((social w/3 worker) w/25 pupil*) w/25 affect*


                                                                    Page 21
                               Case 4:22-md-03047-YGR           Document 1203-1   Filed 10/10/24   Page 23 of 46


                                                            A                                                      B
471 ((social w/3 worker) w/25 pupil*) w/25 effect*
472 ((social w/3 worker) w/25 pupil*) w/25 impact*
473 ((social w/3 worker) w/25 pupil*) w/25 increas*
474 ((social w/3 worker) w/25 pupil*) w/25 insufficient
475 ((social w/3 worker) w/25 pupil*) w/25 need*
476 ((social w/3 worker) w/25 scholar*) w/25 affect*
477 ((social w/3 worker) w/25 scholar*) w/25 effect*
478 ((social w/3 worker) w/25 scholar*) w/25 impact*
479 ((social w/3 worker) w/25 scholar*) w/25 increas*
480 ((social w/3 worker) w/25 scholar*) w/25 insufficient
481 ((social w/3 worker) w/25 scholar*) w/25 need*
482 ((social w/3 worker) w/25 student*) w/25 affect*
483 ((social w/3 worker) w/25 student*) w/25 effect*
484 ((social w/3 worker) w/25 student*) w/25 impact*
485 ((social w/3 worker) w/25 student*) w/25 increas*
486 ((social w/3 worker) w/25 student*) w/25 insufficient
487 ((social w/3 worker) w/25 teen*) w/25 affect*
488 ((social w/3 worker) w/25 teen*) w/25 effect*
489 ((social w/3 worker) w/25 teen*) w/25 impact*
490 ((social w/3 worker) w/25 teen*) w/25 increas*
491 ((social w/3 worker) w/25 teen*) w/25 insufficient
492 ((social w/3 worker) w/25 teen*) w/25 need*
493 crisis w/5 "pre-teen*"
494 crisis w/5 academi*
495 crisis w/5 adolescent*
496 crisis w/5 child*
497 crisis w/5 health
498 crisis w/5 kid*
499 crisis w/5 minor*
500 crisis w/5 preteen*
501 crisis w/5 pupil*
502 crisis w/5 scholar*


                                                                      Page 22
                                Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 24 of 46


                                                     A                                                      B
503 crisis w/5 teen*
504 crisis w/5 tween*
505 crisis w/5 youth*
506 disrupt* w/5 child*
507 disrupt* w/5 freshman
508 disrupt* w/5 freshmen
509 disrupt* w/5 junior*
510 disrupt* w/5 kid*
511 disrupt* w/5 pupil*
512 disrupt* w/5 scholar*
513 disrupt* w/5 senior*
514 disrupt* w/5 sophomore*
515 disrupt* w/5 teen*
516 shooting* w/10 "pre-teen*"
517 shooting* w/10 adolescent*
518 shooting* w/10 building*
519 shooting* w/10 campus*
520 shooting* w/10 child*
521 shooting* w/10 class*
522 shooting* w/10 health
523 shooting* w/10 juvenile*
524 shooting* w/10 kid*
525 shooting* w/10 premise*
526 shooting* w/10 preteen*
527 shooting* w/10 pupil*
528 shooting* w/10 scholar*
529 shooting* w/10 student*
530 shooting* w/10 teen*
531 shooting* w/10 tween*
532 shooting* w/10 youth
533 stress* w/5 "10th grade*"
534 stress* w/5 "11th grade*"


                                                               Page 23
                                 Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 25 of 46


                                                      A                                                      B
535 stress* w/5 "12th grade*"
536 stress* w/5 "9th grade*"
537 stress* w/5 "eleventh grade*"
538 stress* w/5 "grade 10"
539 stress* w/5 "grade 11"
540 stress* w/5 "grade 12"
541 stress* w/5 "ninth grade*"
542 stress* w/5 "tenth grade*"
543 stress* w/5 "twelfth grade*"
544 stress* w/5 child*
545 stress* w/5 freshman
546 stress* w/5 freshmen
547 stress* w/5 junior*
548 stress* w/5 kid*
549 stress* w/5 pupil*
550 stress* w/5 scholar*
551 stress* w/5 senior*
552 stress* w/5 sophomore*
553 stress* w/5 teen*
554 suicid* w/10 anti
555 suicid* w/10 assembly
556 suicid* w/10 attempt*
557 suicid* w/10 aware*
558 suicid* w/10 consultant
559 suicid* w/10 counsel*
560 suicid* w/10 curricul*
561 suicid* w/10 helpline*
562 suicid* w/10 hotline*
563 suicid* w/10 increas*
564 suicid* w/10 interven*
565 suicid* w/10 program
566 suicid* w/10 psycholog*


                                                                Page 24
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 26 of 46


                                                    A                                                      B
567 suicid* w/10 reduc*
568 suicid* w/10 refer*
569 suicid* w/10 staff
570 suicid* w/10 stop*
571 suicid* w/10 teacher
572 suicid* w/10 teen
573 suicid* w/10 train*
574 threat* w/5 administrat*
575 threat* w/5 altercation*
576 threat* w/5 campus*
577 threat* w/5 child*
578 threat* w/5 class*
579 threat* w/5 consult*
580 threat* w/5 crim*
581 threat* w/5 discip*
582 threat* w/5 disciplin*
583 threat* w/5 employee*
584 threat* w/5 expel*
585 threat* w/5 freshman*
586 threat* w/5 freshmen
587 threat* w/5 harass*
588 threat* w/5 junior*
589 threat* w/5 kid*
590 threat* w/5 principal*
591 threat* w/5 pupil*
592 threat* w/5 rate*
593 threat* w/5 safety
594 threat* w/5 scholar*
595 threat* w/5 senior*
596 threat* w/5 sophomore*
597 threat* w/5 staff
598 threat* w/5 suspen*


                                                              Page 25
                                 Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 27 of 46


                                                      A                                                      B
599 threat* w/5 teacher
600 threat* w/5 teen*
601 threat* w/5 treat*
602 threat* w/5 viol*
603 Tweet* w/5 threat
604 violen* w/5 "11th grade*"
605 violen* w/5 "grade 11"
606 violen* w/5 "10th grade*"
607 violen* w/5 "12th grade*"
608 violen* w/5 "eleventh grade*"
609 violen* w/5 "grade 10"
610 violen* w/5 "grade 12"
611 violen* w/5 "ninth grade*"
612 violen* w/5 "tenth grade*"
613 violen* w/5 "twelfth grade*"
614 violen* w/5 campus*
615 violen* w/5 child*
616 violen* w/5 class*
617 violen* w/5 consult*
618 violen* w/5 crim*
619 violen* w/5 discip*
620 violen* w/5 disciplin*
621 violen* w/5 district*
622 violen* w/5 expel*
623 violen* w/5 freshman*
624 violen* w/5 freshmen
625 violen* w/5 junior*
626 violen* w/5 kid*
627 violen* w/5 pupil*
628 violen* w/5 rate*
629 violen* w/5 scholar*
630 violen* w/5 senior*


                                                                Page 26
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 28 of 46


                                                    A                                                      B
631 violen* w/5 sophomore*
632 violen* w/5 student*
633 violen* w/5 suspen*
634 violen* w/5 teen*
635 violen* w/5 train*
636 gun w/15 building*
637 gun w/15 campus*
638 gun w/15 class*
639 gun w/15 premise*
640 gun w/15 school*
641 gun w/15 student*
642 gun* w/15 child*
643 gun* w/15 juvenile*
644 gun* w/15 kid*
645 gun* w/15 minor*
646 gun* w/15 scholar*
647 gun* w/15 teen*
648 gun* w/15 youth*
649 handgun* w/15 "pre-teen"
650 handgun* w/15 building*
651 handgun* w/15 campus*
652 handgun* w/15 child*
653 handgun* w/15 class*
654 handgun* w/15 health
655 handgun* w/15 juvenile*
656 handgun* w/15 kid*
657 handgun* w/15 premise*
658 handgun* w/15 preteen*
659 handgun* w/15 pupil*
660 handgun* w/15 scholar*
661 handgun* w/15 school*
662 handgun* w/15 student*


                                                              Page 27
                              Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 29 of 46


                                                   A                                                      B
663 handgun* w/15 teen*
664 handgun* w/15 tween*
665 handgun* w/15 youth
666 anxiet* w/5 child*
667 anxiet* w/5 freshman
668 anxiet* w/5 freshmen
669 anxiet* w/5 junior*
670 anxiet* w/5 kid*
671 anxiet* w/5 pupil
672 anxiet* w/5 scholar*
673 anxiet* w/5 senior*
674 anxiet* w/5 sophomore*
675 anxiet* w/5 student*
676 binge* w/15 freshmen
677 binge* w/15 junior*
678 binge* w/15 child*
679 binge* w/15 freshman
680 binge* w/15 kid*
681 binge* w/15 pupil
682 binge* w/15 scholar*
683 binge* w/15 senior*
684 binge* w/15 sophomore*
685 binge* w/15 student*
686 binging w/15 freshmen
687 binging w/15 child*
688 binging w/15 pupil
689 binging w/15 junior*
690 binging w/15 "senior*"
691 binging w/15 freshman
692 binging w/15 kid*
693 binging w/15 scholar*
694 binging w/15 sophomore*


                                                             Page 28
                              Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 30 of 46


                                                   A                                                      B
695 binging w/15 student*
696 purge* w/15 freshmen
697 purge* w/15 junior*
698 purge* w/15 "senior*"
699 purge* w/15 child*
700 purge* w/15 freshman
701 purge* w/15 kid*
702 purge* w/15 pupil
703 purge* w/15 scholar*
704 purge* w/15 sophomore*
705 purge* w/15 student*
706 purging w/15 freshmen
707 purging w/15 junior*
708 purging w/15 "senior*"
709 purging w/15 child*
710 purging w/15 freshman
711 purging w/15 kid*
712 purging w/15 pupil
713 purging w/15 scholar*
714 purging w/15 sophomore*
715 purging w/15 student*
716 "B&P" w/15 freshmen
717 "B&P" w/15 junior*
718 "B&P" w/15 "senior*"
719 "B&P" w/15 child*
720 "B&P" w/15 freshman
721 "B&P" w/15 kid*
722 "B&P" w/15 pupil
723 "B&P" w/15 scholar*
724 "B&P" w/15 sophomore*
725 "B&P" w/15 student*
726 (behavior* W/3 concern*) w/15 "pre-teen"


                                                             Page 29
                             Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 31 of 46


                                                  A                                                      B
727 (behavior* W/3 concern*) w/15 building*
728 (behavior* W/3 concern*) w/15 campus*
729 (behavior* W/3 concern*) w/15 child*
730 (behavior* W/3 concern*) w/15 class*
731 (behavior* W/3 concern*) w/15 health
732 (behavior* W/3 concern*) w/15 juvenile*
733 (behavior* W/3 concern*) w/15 kid*
734 (behavior* W/3 concern*) w/15 premise*
735 (behavior* W/3 concern*) w/15 preteen*
736 (behavior* W/3 concern*) w/15 pupil*
737 (behavior* W/3 concern*) w/15 scholar*
738 (behavior* W/3 concern*) w/15 school*
739 (behavior* W/3 concern*) w/15 student*
740 (behavior* W/3 concern*) w/15 teen*
741 (behavior* W/3 concern*) w/15 tween*
742 (behavior* W/3 concern*) w/15 youth
743 (behavior* W/3 issue*) w/15 "pre-teen"
744 (behavior* W/3 issue*) w/15 building*
745 (behavior* W/3 issue*) w/15 campus*
746 (behavior* W/3 issue*) w/15 child*
747 (behavior* W/3 issue*) w/15 class*
748 (behavior* W/3 issue*) w/15 health
749 (behavior* W/3 issue*) w/15 juvenile*
750 (behavior* W/3 issue*) w/15 kid*
751 (behavior* W/3 issue*) w/15 premise*
752 (behavior* W/3 issue*) w/15 preteen*
753 (behavior* W/3 issue*) w/15 pupil*
754 (behavior* W/3 issue*) w/15 scholar*
755 (behavior* W/3 issue*) w/15 school*
756 (behavior* W/3 issue*) w/15 student*
757 (behavior* W/3 issue*) w/15 teen*
758 (behavior* W/3 issue*) w/15 tween*


                                                            Page 30
                              Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 32 of 46


                                                   A                                                      B
759 (behavior* W/3 issue*) w/15 youth
760 Tweet* w/5 nude
761 Tweet* w/5 abuse*
762 Tweet* w/5 altercation*
763 Tweet* w/5 attack*
764 Tweet* w/5 campaign*
765 Tweet* w/5 campus
766 Tweet* w/5 challeng*
767 Tweet* w/5 class*
768 Tweet* w/5 crim*
769 Tweet* w/5 danger*
770 Tweet* w/5 disciplin*
771 Tweet* w/5 disrupt*
772 Tweet* w/5 distract*
773 Tweet* w/5 district*
774 Tweet* w/5 engage*
775 Tweet* w/5 expel*
776 Tweet* w/5 gun*
777 Tweet* w/5 harm*
778 Tweet* w/5 homework*
779 Tweet* w/5 hurt
780 Tweet* w/5 illegal
781 Tweet* w/5 improper*
782 Tweet* w/5 inappropriate*
783 Tweet* w/5 learn*
784 Tweet* w/5 nudity
785 Tweet* w/5 police
786 Tweet* w/5 prank*
787 Tweet* w/5 safe*
788 Tweet* w/5 school*
789 Tweet* w/5 sex*
790 Tweet* w/5 shoot


                                                             Page 31
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 33 of 46


                                                    A                                                      B
791 Tweet* w/5 study
792 Tweet* w/5 suspen*
793 Tweet* w/5 threat
794 Tweet* w/5 unprofessional*
795 Tweet* w/5 unsafe*
796 Tweet* w/5 violate*
797 Tweet* w/5 weapon*
798 misconduct* w/10 administrat*
799 misconduct* w/10 altercation*
800 misconduct* w/10 campus*
801 misconduct* w/10 child*
802 misconduct* w/10 class*
803 misconduct* w/10 consult*
804 misconduct* w/10 crim*
805 misconduct* w/10 discip*
806 misconduct* w/10 disciplin*
807 misconduct* w/10 district*
808 misconduct* w/10 emloyee*
809 misconduct* w/10 expel*
810 misconduct* w/10 freshman*
811 misconduct* w/10 harass*
812 misconduct* w/10 junior*
813 misconduct* w/10 kid*
814 misconduct* w/10 principal*
815 misconduct* w/10 pupil*
816 misconduct* w/10 rate*
817 misconduct* w/10 safety*
818 misconduct* w/10 scholar*
819 misconduct* w/10 school*
820 misconduct* w/10 senior*
821 misconduct* w/10 sophomore*
822 misconduct* w/10 staff*


                                                              Page 32
                                Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 34 of 46


                                                     A                                                      B
823 misconduct* w/10 student*
824 misconduct* w/10 suspen*
825 misconduct* w/10 teacher*
826 misconduct* w/10 teen*
827 misconduct* w/10 train*
828 misconduct* w/10 treat*
829 misconduct* w/10 viol*
830 misbehav* w/10 administrat*
831 misbehav* w/10 altercation*
832 misbehav* w/10 campus*
833 misbehav* w/10 child*
834 misbehav* w/10 class*
835 misbehav* w/10 consult*
836 misbehav* w/10 crim*
837 misbehav* w/10 discip*
838 misbehav* w/10 disciplin*
839 misbehav* w/10 district*
840 misbehav* w/10 employee*
841 misbehav* w/10 expel*
842 misbehav* w/10 freshman*
843 misbehav* w/10 harass*
844 misbehav* w/10 junior*
845 misbehav* w/10 kid*
846 misbehav* w/10 principal*
847 misbehav* w/10 rate*
848 misbehav* w/10 safety
849 misbehav* w/10 school*
850 misbehav* w/10 senior*
851 misbehav* w/10 sophomore*
852 misbehav* w/10 staff*
853 misbehav* w/10 suspen*
854 misbehav* w/10 teacher


                                                               Page 33
                            Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 35 of 46


                                                 A                                                      B
855 misbehav* w/10 teen*
856 misbehav* w/10 train*
857 misbehav* w/10 treat*
858 misbehav* w/10 viol*
859 (property W/10 damage) w/25 adolescent*
860 (property W/10 damage) w/25 child*
861 (property W/10 damage) w/25 class*
862 (property W/10 damage) w/25 juvenile*
863 (property W/10 damage) w/25 kid*
864 (property W/10 damage) w/25 minor*
865 (property W/10 damage) w/25 preteen*
866 (property W/10 damage) w/25 pre-teen*
867 (property W/10 damage) w/25 pupil*
868 (property W/10 damage) w/25 scholar*
869 (property W/10 damage) w/25 student*
870 (property W/10 damage) w/25 teen*
871 (property W/10 damage) w/25 tween*
872 (property W/10 damage) w/25 youth*
873 rape* w/10 campus*
874 rape* w/10 child*
875 rape* w/10 class*
876 rape* w/10 disciplin*
877 rape* w/10 district*
878 rape* w/10 freshman*
879 rape* w/10 freshmen
880 rape* w/10 junior*
881 rape* w/10 kid*
882 rape* w/10 pupil*
883 rape* w/10 rate*
884 rape* w/10 scholar*
885 rape* w/10 school*
886 rape* w/10 senior*


                                                           Page 34
                              Case 4:22-md-03047-YGR    Document 1203-1   Filed 10/10/24   Page 36 of 46


                                                    A                                                      B
887 rape* w/10 sophomore*
888 rape* w/10 student*
889 rape* w/10 teen*
890 rapist* w/10 campus*
891 rapist* w/10 child*
892 rapist* w/10 class*
893 rapist* w/10 disciplin*
894 rapist* w/10 district*
895 rapist* w/10 freshman*
896 rapist* w/10 freshmen
897 rapist* w/10 junior*
898 rapist* w/10 kid*
899 rapist* w/10 pupil*
900 rapist* w/10 rate*
901 rapist* w/10 scholar*
902 rapist* w/10 school*
903 rapist* w/10 senior*
904 rapist* w/10 sophomore*
905 rapist* w/10 student*
906 rapist* w/10 teen*
907 Truan* w/5 caus*
908 Truan* w/5 impact*
909 Truan* w/5 increas*
910 Truan* w/5 problem*
911 (therap* w/5 student*) w/25 affect*
912 (therap* w/5 student*) w/25 impact*
913 (therap* w/5 student*) w/25 increas*
914 (therap* w/5 student*) w/25 insufficient*
915 (therap* w/5 student*) w/25 need*
916 (crim* W/10 ("law enforcement")) w/25 affect*
917 (crim* W/10 ("law enforcement")) w/25 effect*
918 (crim* W/10 ("law enforcement")) w/25 impact*


                                                              Page 35
                               Case 4:22-md-03047-YGR           Document 1203-1   Filed 10/10/24   Page 37 of 46


                                                            A                                                      B
919 (crim* W/10 ("law enforcement")) w/25 increas*
920 (crim* W/10 ("law enforcement")) w/25 insufficient
921 (crim* W/10 ("law enforcement")) w/25 need*
922 (crim* W/10 ("parole")) w/25 affect*
923 (crim* W/10 ("parole")) w/25 effect*
924 (crim* W/10 ("parole")) w/25 impact*
925 (crim* W/10 ("parole")) w/25 increas*
926 (crim* W/10 ("parole")) w/25 insufficient
927 (crim* W/10 ("parole")) w/25 need*
928 (crim* W/10 ("probation officer")) w/25 affect*
929 (crim* W/10 ("probation officer")) w/25 effect*
930 (crim* W/10 ("probation officer")) w/25 impact*
931 (crim* W/10 ("probation officer")) w/25 increas*
932 (crim* W/10 ("probation officer")) w/25 insufficient
933 (crim* W/10 ("probation officer")) w/25 need*
934 (crim* W/10 ("school resource office")) w/25 affect*
935 (crim* W/10 ("school resource office")) w/25 effect*
936 (crim* W/10 ("school resource office")) w/25 impact*
937 (crim* W/10 ("school resource office")) w/25 increas*
938 (crim* W/10 ("school resource office")) w/25 insufficient
939 (crim* W/10 ("school resource office")) w/25 need*
940 (crim* W/10 ("SRO")) w/25 affect*
941 (crim* W/10 ("SRO")) w/25 effect*
942 (crim* W/10 ("SRO")) w/25 impact*
943 (crim* W/10 ("SRO")) w/25 increas*
944 (crim* W/10 ("SRO")) w/25 insufficient
945 (crim* W/10 ("SRO")) w/25 need*
946 (crim* W/10 (arrest*)) w/25 affect*
947 (crim* W/10 (arrest*)) w/25 effect*
948 (crim* W/10 (arrest*)) w/25 impact*
949 (crim* W/10 (arrest*)) w/25 increas*
950 (crim* W/10 (arrest*)) w/25 insufficient


                                                                      Page 36
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 38 of 46


                                                    A                                                      B
951 (crim* W/10 (arrest*)) w/25 need*
952 (crim* W/10 (police*)) w/25 affect*
953 (crim* W/10 (police*)) w/25 effect*
954 (crim* W/10 (police*)) w/25 impact*
955 (crim* W/10 (police*)) w/25 increas*
956 (crim* W/10 (police*)) w/25 insufficient
957 (crim* W/10 (police*)) w/25 need*
958 cigar* w/10 affect*
959 cigar* w/10 disrupt*
960 cigar* w/10 distract*
961 cigar* w/10 impact*
962 cigar* w/10 increas*
963 cigar* w/10 pattern*
964 cigar* w/10 problem*
965 cigar* w/10 trend*
966 marijuana w/10 affect*
967 marijuana w/10 disrupt*
968 marijuana w/10 distract*
969 marijuana w/10 impact*
970 marijuana w/10 increas*
971 marijuana w/10 pattern*
972 marijuana w/10 problem*
973 marijuana w/10 trend*
974 oxyc* w/10 affect*
975 oxyc* w/10 disrupt*
976 oxyc* w/10 distract*
977 oxyc* w/10 impact*
978 oxyc* w/10 increas*
979 oxyc* w/10 pattern*
980 oxyc* w/10 problem*
981 oxyc* w/10 trend*
982 "oxy" w/10 affect*


                                                              Page 37
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 39 of 46


                                                    A                                                      B
983 "oxy" w/10 disrupt*
984 "oxy" w/10 distract*
985 "oxy" w/10 impact*
986 "oxy" w/10 increas*
987 "oxy" w/10 pattern*
988 "oxy" w/10 problem*
989 "oxy" w/10 trend*
990 rifle* w/15 "preteen"
991 rifle* w/15 "pre-teen"
992 rifle* w/15 building*
993 rifle* w/15 campus*
994 rifle* w/15 child*
995 rifle* w/15 class*
996 rifle* w/15 health
997 rifle* w/15 juvenile*
998 rifle* w/15 kid*
999 rifle* w/15 premise*
1000 rifle* w/15 pupil*
1001 rifle* w/15 scholar*
1002 rifle* w/15 school*
1003 rifle* w/15 student*
1004 rifle* w/15 teen*
1005 rifle* w/15 tween*
1006 rifle* w/15 youth
1007 "e-cig*" w/10 affect*
1008 "e-cig*" w/10 disrupt*
1009 "e-cig*" w/10 distract*
1010 "e-cig*" w/10 impact*
1011 "e-cig*" w/10 increas*
1012 "e-cig*" w/10 pattern*
1013 "e-cig*" w/10 problem*
1014 "e-cig*" w/10 trend*


                                                              Page 38
                                Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 40 of 46


                                                     A                                                      B
1015 firearm w/15 "pre-teen"
1016 firearm w/15 building*
1017 firearm w/15 campus*
1018 firearm w/15 child*
1019 firearm w/15 class*
1020 firearm w/15 health
1021 firearm w/15 juvenile*
1022 firearm w/15 kid*
1023 firearm w/15 premise*
1024 firearm w/15 preteen*
1025 firearm w/15 pupil*
1026 firearm w/15 scholar*
1027 firearm w/15 school*
1028 firearm w/15 student*
1029 firearm w/15 teen*
1030 firearm w/15 tween*
1031 firearm w/15 youth
1032 quarantine* w/25 effect*
1033 quarantine* w/25 harm*
1034 quarantine* w/25 impact
1035 nicotine w/10 affect*
1036 nicotine w/10 disrupt*
1037 nicotine w/10 distract*
1038 nicotine w/10 impact*
1039 nicotine w/10 increas*
1040 nicotine w/10 pattern*
1041 nicotine w/10 problem*
1042 nicotine w/10 trend*
1043 stabbed w/15 "pre-teen"
1044 stabbed w/15 building*
1045 stabbed w/15 campus*
1046 stabbed w/15 child*


                                                               Page 39
                                 Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 41 of 46


                                                      A                                                      B
1047 stabbed w/15 class*
1048 stabbed w/15 health
1049 stabbed w/15 juvenile*
1050 stabbed w/15 kid*
1051 stabbed w/15 premise*
1052 stabbed w/15 preteen*
1053 stabbed w/15 pupil*
1054 stabbed w/15 scholar*
1055 stabbed w/15 school*
1056 stabbed w/15 student*
1057 stabbed w/15 teen*
1058 stabbed w/15 youth
1059 stabbing w/ 15 "pre-teen"
1060 stabbing w/ 15 building*
1061 stabbing w/ 15 campus*
1062 stabbing w/ 15 child*
1063 stabbing w/ 15 class*
1064 stabbing w/ 15 health
1065 stabbing w/ 15 juvenile*
1066 stabbing w/ 15 kid*
1067 stabbing w/ 15 premise*
1068 stabbing w/ 15 preteen*
1069 stabbing w/ 15 pupil*
1070 stabbing w/ 15 scholar*
1071 stabbing w/ 15 school*
1072 stabbing w/ 15 student*
1073 stabbing w/ 15 tween*
1074 stabbing w/ 15 youth
1075 pistol* w/15 "pre-teen"
1076 pistol* w/15 building*
1077 pistol* w/15 campus*
1078 pistol* w/15 child*


                                                                Page 40
                                Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 42 of 46


                                                     A                                                      B
1079 pistol* w/15 class*
1080 pistol* w/15 health
1081 pistol* w/15 juvenile*
1082 pistol* w/15 kid*
1083 pistol* w/15 premise*
1084 pistol* w/15 preteen*
1085 pistol* w/15 pupil*
1086 pistol* w/15 scholar*
1087 pistol* w/15 school*
1088 pistol* w/15 student*
1089 pistol* w/15 teen*
1090 pistol* w/15 tween*
1091 pistol* w/15 youth
1092 meth w/10 affect*
1093 meth w/10 disrupt*
1094 meth w/10 distract*
1095 meth w/10 impact*
1096 meth w/10 increas*
1097 meth w/10 pattern*
1098 meth w/10 problem*
1099 meth w/10 trend*
1100 methamphetamine w/10 affect*
1101 methamphetamine w/10 disrupt*
1102 methamphetamine w/10 distract*
1103 methamphetamine w/10 impact*
1104 methamphetamine w/10 increas*
1105 methamphetamine w/10 pattern*
1106 methamphetamine w/10 problem*
1107 methamphetamine w/10 trend*
1108 narcotic* w/10 affect*
1109 narcotic* w/10 disrupt*
1110 narcotic* w/10 distract*


                                                               Page 41
                               Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 43 of 46


                                                    A                                                      B
1111 narcotic* w/10 impact*
1112 narcotic* w/10 increas*
1113 narcotic* w/10 pattern*
1114 narcotic* w/10 problem*
1115 narcotic* w/10 trend*
1116 heroin w/10 affect*
1117 heroin w/10 disrupt*
1118 heroin w/10 distract*
1119 heroin w/10 impact*
1120 heroin w/10 increas*
1121 heroin w/10 pattern*
1122 heroin w/10 problem*
1123 heroin w/10 trend*
1124 fentanyl w/10 affect*
1125 fentanyl w/10 disrupt*
1126 fentanyl w/10 distract*
1127 fentanyl w/10 impact*
1128 fentanyl w/10 increas*
1129 fentanyl w/10 pattern*
1130 fentanyl w/10 problem*
1131 fentanyl w/10 trend*
1132 cocaine w/10 affect*
1133 cocaine w/10 disrupt*
1134 cocaine w/10 distract*
1135 cocaine w/10 impact*
1136 cocaine w/10 increas*
1137 cocaine w/10 pattern*
1138 cocaine w/10 problem*
1139 cocaine w/10 trend*
1140 bulimi* w/10 affect*
1141 bulimi* w/10 disrupt*
1142 bulimi* w/10 distract*


                                                              Page 42
                                   Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 44 of 46


                                                        A                                                      B
1143 bulimi* w/10 impact*
1144 bulimi* w/10 increas*
1145 bulimi* w/10 pattern*
1146 bulimi* w/10 problem*
1147 bulimi* w/10 trend*
1148 Intoxication w/10 affect*
1149 Intoxication w/10 disrupt*
1150 Intoxication w/10 distract*
1151 Intoxication w/10 impact*
1152 Intoxication w/10 increas*
1153 Intoxication w/10 pattern*
1154 Intoxication w/10 problem*
1155 Intoxication w/10 trend*
1156 Xanax w/10 affect*
1157 Xanax w/10 disrupt*
1158 Xanax w/10 distract*
1159 Xanax w/10 impact*
1160 Xanax w/10 increas*
1161 Xanax w/10 pattern*
1162 Xanax w/10 problem*
1163 Xanax w/10 trend*
1164 ecig* w/10 affect*
1165 ecig* w/10 disrupt*
1166 ecig* w/10 distract*
1167 ecig* w/10 impact*
1168 ecig* w/10 increas*
1169 ecig* w/10 pattern*
1170 ecig* w/10 problem*
1171 ecig* w/10 trend*
1172 opioid* w/10 "pre-teen*"
1173 opioid* w/10 adolescent*
1174 opioid* w/10 building*


                                                                  Page 43
                                 Case 4:22-md-03047-YGR   Document 1203-1   Filed 10/10/24   Page 45 of 46


                                                      A                                                      B
1175 opioid* w/10 campus*
1176 opioid* w/10 child*
1177 opioid* w/10 class*
1178 opioid* w/10 health
1179 opioid* w/10 juvenile*
1180 opioid* w/10 kid*
1181 opioid* w/10 premise*
1182 opioid* w/10 preteen*
1183 opioid* w/10 pupil*
1184 opioid* w/10 scholar*
1185 opioid* w/10 school*
1186 opioid* w/10 student*
1187 opioid* w/10 teen*
1188 opioid* w/10 tween*
1189 opioid* w/10 youth
1190 overdos* w/10 "pre-teen*"
1191 overdos* w/10 adolescent*
1192 overdos* w/10 building*
1193 overdos* w/10 campus*
1194 overdos* w/10 child*
1195 overdos* w/10 class*
1196 overdos* w/10 health
1197 overdos* w/10 juvenile*
1198 overdos* w/10 kid*
1199 overdos* w/10 premise*
1200 overdos* w/10 preteen*
1201 overdos* w/10 pupil*
1202 overdos* w/10 scholar*
1203 overdos* w/10 school*
1204 overdos* w/10 student*
1205 overdos* w/10 teen*
1206 overdos* w/10 tween*


                                                                Page 44
                                  Case 4:22-md-03047-YGR     Document 1203-1       Filed 10/10/24   Page 46 of 46


                                                         A                                                          B
1207 overdos* w/10 youth
1208 Juul w/10 "pre-teen*"
1209 Juul w/10 adolescent*
1210 Juul w/10 building*
1211 Juul w/10 campus*
1212 Juul w/10 child*
1213 Juul w/10 class*
1214 Juul w/10 health
1215 Juul w/10 juvenile*
1216 Juul w/10 kid*
1217 Juul w/10 premise*
1218 Juul w/10 preteen*
1219 Juul w/10 pupil*
1220 Juul w/10 scholar*
1221 Juul w/10 school*
1222 Juul w/10 student*
1223 Juul w/10 teen*
1224 Juul w/10 tween*
1225 Juul w/10 youth
1226 "safety issue" w/5 consult*
1227 "safety issue" w/5 crim*
1228 "safety issue" w/5 discip*
1229 "safety issue" w/5 expel*
1230 "safety issue" w/5 suspen*
1231 "safety issue" w/5 train*
1232 teacher w/5 (shortage* OR "burnout" OR "burn out" OR "burnt out")
1233 (teacher* W/5 (retention OR retain*)) w/5 (problem OR trend OR reason OR cause)
1234 teacher* w/5 (turnover w/5 (problem OR trend OR reason OR cause))




                                                                     Page 45
